                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION


BILLY CRUSENBERRY                             )
                                              )      Case No. 3:12-1170
v.                                            )      JUDGE SHARP
                                              )
HARTFORD LIFE AND ACCIDENT                    )
INSURANCE COMPANY                             )


                                           ORDER


       Pursuant to the Joint Stipulation of Dismissal with Prejudice (Docket No. 10) filed by the

parties, this action is hereby dismissed with prejudice pursuant to Rule 41(a) of the Federal

Rules of Civil Procedure.

       It is so ORDERED.



                                                     ____________________________________
                                                     KEVIN H. SHARP
                                                     UNITED STATES DISTRICT JUDGE




     Case 3:12-cv-01170 Document 11 Filed 08/28/13 Page 1 of 1 PageID #: 56
